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                       Exhibit D
                      to Declaration of Matthew Hooker
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                                                  Hogan Lovells 3. LLP
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June 8, 2022


BY ELECTRONIC MAIL AND SECURE FILE TRANSFER

Mana Moriarty
Department of the Attorney General
State of Hawai‘i
425 Queen St.
Honolulu, HI 96813

Linda Singer
Paige Boggs
Motley Rice LLC
401 9th St. NW, Suite 1001
Washington, DC 20004


  Re:              Subpoena to OptumRx, Inc. Dated October 15, 2021

Dear Mana, Linda and Paige:

With this letter and accompanying document, OptumRx, Inc. (hereinafter “Optum,” or “the Company”)
makes its first production in response to the Subpoena dated October, 15, 2021, as clarified by our
various telephone calls (the “Subpoena”). Per our discussion with Paige on June 3, 2022, Optum is
producing herein the documents that Optum previously produced to the Minnesota Attorney General’s
Office pursuant to a Civil Investigative Demand served upon OptumRx, Inc. in 2017. These documents
are branded with the same Bates-numbers as were provided to the Minnesota Attorney General’s
Office: Optum-MNAG-0000000001 - Optum-MNAG-0000068310.

                                                                           *             *             *

The enclosed documents contain or constitute confidential business information, records, and/or trade
secrets of Optum and are being produced in reliance on Paige’s assertions during our June 3, 2022
discussion, that the State of Hawai‘i will treat the documents previously produced to Minnesota as
confidential pursuant to the State of Hawai‘i’s May 18, 2022 confidentiality agreement with Optum
even if the confidentiality designations on the production images are worded slightly differently (e.g.,
“confidential” vs. “highly confidential”).

The submission of the enclosed materials does not waive, nor is it intended to waive, any rights,
privileges, or immunities of Optum with respect to this matter, including any applicable attorney-client
privilege, protection provided under the work-product doctrine, or other privilege or immunity that may
exist. In the event of any inadvertent production of privileged materials, Optum requests that the
government refrain from reviewing such materials and return the same promptly to Optum. Moreover,
to the extent that non-responsive documents, pages, or information have been produced inadvertently,
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Optum does not agree to any expansion of the scope of your request. Optum expressly reserves any
applicable privileges and immunities to which it is entitled under the law.

Please call me if you have any questions about any aspect of this letter or the enclosed documents.



Sincerely,




Allison J. Caplis
Counsel
allison.caplis@hoganlovells.com
D 410-659-2784
